                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:18-CR-095-RJC-DCK

 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )         ORDER
                                                       )
 XAVER MONTEZ BOSTON,                                  )
                                                       )
                Defendant.                             )
                                                       )

         THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal”

(Document No. 110) filed October 18, 2020. In accordance with the Local Rules, the Court has

considered the Motion to Seal, the public’s interest in access to the affected materials, and

alternatives to sealing. The Court determines that no less restrictive means other than sealing is

sufficient inasmuch as Defendant’s Sentencing Memorandum contains sensitive and private

information that is inappropriate for public access. Having carefully considered the motion and

the record, and for good cause, the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal” (Document No.

110) is GRANTED, and the Sentencing Memorandum (Document No. 109) is sealed until further

Order of this Court.


                                      Signed: October 19, 2020




      Case 3:18-cr-00095-RJC-DCK Document 112 Filed 10/19/20 Page 1 of 1
